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                 EXHIBIT A
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                                           SETTLEMENT AGREEMENT AND RELEASE

                  THIS SETTLEMENT AGREEMENT AND RELEASE (“Agreement”) is made by and
           between James Brand, Barry Farmer, Mark Graham, Kevin Jackson, Michael
           Jackson, Jose Vigil, and Christopher Woodard (“Plaintiffs”); and Comcast Cable
           Communications Management, LLC, for itself and on behalf of its parents,
           subsidiaries, and corporate affiliates (“Defendants” or “Comcast”). Plaintiffs and
           Defendants are referred to collectively as the “Parties.”

                  1.   The Lawsuit. On February 16, 2012, Plaintiffs filed a lawsuit against
           Defendants in the United States District Court for the Northern District of Illinois,
           entitled James Brand, et al. v. Comcast Corporation, et al., Case No. 12-C-1122 (the
           “Lawsuit”).

                   2.      Recitals. In the Lawsuit, Plaintiffs made certain allegations concerning
           Comcast’s alleged failure to pay them for hours worked in purported violation of
           the FLSA, IMWL and IWPCA. Comcast has denied, and continues to deny, all of
           the claims asserted in the Lawsuit, denies any and all liability or wrongdoing of any
           kind whatsoever associated with any of the facts or claims alleged in the Lawsuit
           and by Plaintiffs, and makes no concession or admission of wrongdoing or liability
           of any kind whatsoever. The Parties and their counsel have considered that under
           the circumstances and in light of the costs, distractions to Comcast’s business, and
           risks of litigation, their respective interests are best served by compromise,
           settlement and dismissal of the Lawsuit with prejudice and have concluded that
           the terms of this Agreement are fair, reasonable and adequate. The Parties
           participated in arm’s length settlement discussions and mediation supervised by
           Michael E. Dickstein of Dickstein Dispute Resolution/MEDiate, and as a result of
           these settlement discussions and mediation, have agreed to settle the issues,
           matters and things in dispute between and among them pursuant to the terms of
           this Agreement. The Parties, through their counsel, will seek judicial approval of this
           Agreement.

                 3.    Payment of Money. As consideration for the promises and releases in
           this Agreement, Defendants agree to pay Plaintiffs the gross amount of Four
           Hundred Fifty Thousand and 00/100 Dollars ($450,000.00) (the “Gross Settlement
           Payment”), as follows:

                   A. Payment 1 – Plaintiffs’ Payments – Two Hundred Thousand and 00/100
                      Dollars ($200,000.00)

                 No later than thirty (30) calendar days after the Court approves this
           Agreement, and upon receipt of an executed Form W-9 for each Plaintiff,
           Defendants agree to pay Plaintiffs the gross sum of Two Hundred Thousand and
           00/100 Dollars ($200,000.00), allocated and distributed as follows:


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                            (1) Twenty-Three Thousand Three Hundred Thirty-Seven and 50/100
                                Dollars ($23,337.50), minus applicable taxes and withholdings
                                required by law, via a check or checks as set forth below made
                                payable to James Brand and delivered to Noelle Brennan &
                                Associates, Ltd. Of this amount, fifty percent (50%), or $11,668.75, is
                                for claimed lost wages and will be treated by the Parties as wages
                                for tax purposes, and shall be subject to required withholdings and
                                deductions so the net amounts payable will be less than the gross
                                amounts, and reported to the Internal Revenue Service on a Form W-
                                2. The remaining fifty percent (50%), or $11,668.75, is for claimed
                                penalties, liquidated damages, interest, and all other non-wage
                                income and will be reported to the Internal Revenue Service on a
                                Form 1099.

                            (2) Thirty-Six Thousand Six Hundred Twenty-Four and 82/100 Dollars
                                ($36,624.82), minus applicable taxes and withholdings required by
                                law, via a check or checks as set forth below made payable to Barry
                                Farmer and delivered to Noelle Brennan & Associates, Ltd. Of this
                                amount, fifty percent (50%), or $18,312.41, is for claimed lost wages
                                and will be treated by the Parties as wages for tax purposes, and
                                shall be subject to required withholdings and deductions so the net
                                amounts payable will be less than the gross amounts, and reported
                                to the Internal Revenue Service on a Form W-2. The remaining fifty
                                percent (50%), or $18,312.41, is for claimed penalties, liquidated
                                damages, interest, and all other non-wage income and will be
                                reported to the Internal Revenue Service on a Form 1099.

                            (3) Ten Thousand Fifty-Nine and 81/100 Dollars ($10,059.81), minus
                                applicable taxes and withholdings required by law, via a check or
                                checks as set forth below made payable to Mark Graham and
                                delivered to Noelle Brennan & Associates, Ltd. Of this amount, fifty
                                percent (50%), or $5,029.91, is for claimed lost wages and will be
                                treated by the Parties as wages for tax purposes, and shall be
                                subject to required withholdings and deductions so the net amounts
                                payable will be less than the gross amounts, and reported to the
                                Internal Revenue Service on a Form W-2. The remaining fifty percent
                                (50%), or $5,029.90, is for claimed penalties, liquidated damages,
                                interest, and all other non-wage income and will be reported to the
                                Internal Revenue Service on a Form 1099.

                            (4) Forty-Three Thousand Five Hundred Forty-Nine and 41/100 Dollars
                                ($43,549.41), minus applicable taxes and withholdings required by
                                law, via a check or checks as set forth below made payable to
                                Kevin Jackson and delivered to Noelle Brennan & Associates, Ltd. Of
                                this amount, fifty percent (50%), or $21,774.71, is for claimed lost
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                                wages and will be treated by the Parties as wages for tax purposes,
                                and shall be subject to required withholdings and deductions so the
                                net amounts payable will be less than the gross amounts, and
                                reported to the Internal Revenue Service on a Form W-2. The
                                remaining fifty percent (50%), or $21,774.70, is for claimed penalties,
                                liquidated damages, interest, and all other non-wage income and
                                will be reported to the Internal Revenue Service on a Form 1099.

                            (5) Thirty-Three Thousand Five Hundred Fifty-Seven and 37/100 Dollars
                                ($33,557.37), minus applicable taxes and withholdings required by
                                law, via a check or checks as set forth below made payable to
                                Michael Jackson and delivered to Noelle Brennan & Associates, Ltd.
                                Of this amount, fifty percent (50%), or $16,778.69 is for claimed lost
                                wages and will be treated by the Parties as wages for tax purposes,
                                and shall be subject to required withholdings and deductions so the
                                net amounts payable will be less than the gross amounts, and
                                reported to the Internal Revenue Service on a Form W-2. The
                                remaining fifty percent (50%), or $16,778.68, is for claimed penalties,
                                liquidated damages, interest, and all other non-wage income and
                                will be reported to the Internal Revenue Service on a Form 1099.

                            (6) Forty-Three Thousand Seven Hundred Forty-Four and 12/100 Dollars
                                ($43,744.12), minus applicable taxes and withholdings required by
                                law, via a check or checks as set forth below made payable to Jose
                                Vigil and delivered to Noelle Brennan & Associates, Ltd. Of this
                                amount, fifty percent (50%), or $21,872.06, is for claimed lost wages
                                and will be treated by the Parties as wages for tax purposes, and
                                shall be subject to required withholdings and deductions so the net
                                amounts payable will be less than the gross amounts, and reported
                                to the Internal Revenue Service on a Form W-2. The remaining fifty
                                percent (50%), or $21,872.06, is for claimed penalties, liquidated
                                damages, interest, and all other non-wage income and will be
                                reported to the Internal Revenue Service on a Form 1099.

                            (7) Nine Thousand One Hundred Twenty-Six and 97/100 Dollars
                                ($9,126.97), minus applicable taxes and withholdings required by
                                law, via a check or checks as set forth below made payable to
                                Christopher Woodard and delivered to Noelle Brennan & Associates,
                                Ltd. Of this amount, fifty percent (50%), or $4,563.49, is for claimed
                                lost wages and will be treated by the Parties as wages for tax
                                purposes, and shall be subject to required withholdings and
                                deductions so the net amounts payable will be less than the gross
                                amounts, and reported to the Internal Revenue Service on a Form W-
                                2. The remaining fifty percent (50%), or $4,563.48, is for claimed
                                penalties, liquidated damages, interest, and all other non-wage
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                                income and will be reported to the Internal Revenue Service on a
                                Form 1099.

                    B. Payment 2 – Attorneys’ Fees and Costs – Two Hundred Fifty Thousand and
                       00/100 Dollars ($250,000.00)

                 No later than thirty (30) calendar days after the Court approves this
           Agreement, and upon receipt of an executed Form W-9 for each business,
           Defendants agree to pay Plaintiffs’ attorneys of record (“Plaintiffs’ Counsel”) the
           gross sum of Two Hundred Fifty Thousand and 00/100 Dollars ($250,000.00),
           allocated and distributed as follows:

                            (1) One Hundred Twenty-Three Thousand Seven Hundred Sixty-Six and
                                41/100 Dollars ($123,766.41), via a check made payable and
                                delivered to Noelle Brennan & Associates, Ltd. This amount is for
                                attorneys’ fees and costs and will be reported to the Internal
                                Revenue Service on a Form 1099.

                            (2) One Hundred Twenty-Six Thousand Two Hundred Thirty-Three and
                                59/100 Dollars ($126,233.59), via a check made payable and
                                delivered to Stephan Zouras LLP. This amount is for attorneys’ fees
                                and costs and will be reported to the Internal Revenue Service on a
                                Form 1099.

                 To the extent the Court disallows, disapproves, or reduces the award of
           attorneys’ fees and costs as currently allocated to Plaintiffs’ Counsel, the
           settlement will proceed, and this Agreement will be modified to reflect the amount
           of attorneys’ fees and costs approved by the Court. Any amounts allocated as
           attorneys’ fees and costs under this Agreement but not approved by the Court
           shall be allocated to the Plaintiffs’ Payments, in which case new Plaintiffs’
           Payments will be calculated.

                  4.      Tax Liabilities. Defendants agree that they are solely responsible for
           payment of the employer’s share of all payroll taxes on that portion of the Gross
           Settlement Payment being treated as wages (as set forth in paragraphs 3(A)((1)-
           (7)) above) and reported on a Form W-2. Defendants also bear sole responsibility
           for remitting to the appropriate tax authorities all taxes withheld from the payments
           to Plaintiffs. For their part, Plaintiffs bear sole responsibility for the payment of all
           federal, state and local taxes, of any type whatsoever, resulting from their receipt
           of the payments provided for above. As to the Plaintiffs’ Payments reported as
           non-wage income, the Plaintiffs agree to indemnify and hold Comcast harmless
           for any taxes due or owing by the Plaintiffs on such payments. Any amounts paid
           to the Plaintiffs shall not create any credit or otherwise affect the calculation of
           any deferred compensation, benefit, pension, or other compensation or benefit


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           plan provided by any of the Released Parties (as that term is defined in Paragraph
           6).

                  5.      Approval Order and Dismissal With Prejudice. The Parties agree to
           work to effectuate approval and dismissal of the Action with the Court. To that
           end, promptly upon execution of this Agreement, Plaintiffs’ Counsel will prepare a
           Joint Motion for Approval of FLSA Settlement and will provide it to Comcast’s
           counsel for review, comment, or revisions ten (10) business days in advance of
           applicable deadlines (but not later than June 13, 2016) for filing. The Joint Motion
           shall seek the entry of an Order approving the terms of this Agreement, including
           of the Plaintiffs’ Released Claims and approving the payment of attorneys’ fees
           and costs. The Parties agree to cooperate with one another and execute any
           additional documents which may be necessary to secure dismissal of the Lawsuit
           with prejudice, each party to bear its own costs and attorney’s fees except as
           otherwise stated in this Agreement. In the event this Agreement is not approved
           by the Court, this Agreement will no longer have any effect and the Parties will
           revert to litigating the Lawsuit as of the date and time immediately prior to the
           execution of this Agreement. Plaintiffs and Plaintiffs’ Counsel may not cite this
           Agreement in the Lawsuit or any other action or proceeding.

                   6.     Plaintiffs’ Released Claims. In exchange for the payments and
           benefits described herein, Plaintiffs release and discharge Comcast and its current,
           former, and future corporate affiliates and related entities including, without
           limitation, parents, subsidiaries, predecessors, successors, divisions, joint ventures
           and assigns, and each of these entities’ past or present directors, officers,
           employees, partners, members, principals, agents, insurers, co-insurers, re-insurers,
           benefit plans, plan administrators, shareholders, attorneys, and personal or legal
           representatives (“Released Parties”) from all claims, demands, causes of action,
           fees and liabilities of any kind whatsoever, whether known or unknown, whether
           contingent or non-contingent, specifically asserted or not, which the Plaintiffs ever
           had, now have, or may have against any of the Released Parties by reason of any
           act, omission, transaction, practice, plan, policy, procedure, conduct, occurrence,
           or other matter, up to and including the date the Court approves this Agreement,
           related to the payment of wages, commissions, shift differentials, bonuses, and/or
           other compensation that were or could have been asserted in the Litigation,
           including those claims that could arise under the Fair Labor Standards Act (FLSA),
           29 U.S.C. § 201, et seq. , the Illinois Minimum Wage Law (IMWL), 820 ILCS 105/1, et
           seq., the Illinois Wage Payment and Collection Act (IWPCA), 820 ILCS 115/1, et
           seq., or any other state or local wage/hour and wage payment statute/ordinance
           for any type of relief, including without limitation, minimum wages, overtime or
           other wages; unpaid wages or other compensation, costs; wage deductions;
           premium pay; liquidated damages, penalties; punitive damages; interest;
           attorneys’ fees and; litigation costs; restitution; and equitable relief. In waiving and
           releasing the claims set forth in this Agreement, whether or not now known to
           Plaintiffs, Plaintiffs understand that this means that, if Plaintiffs later discover facts
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           different from or in addition to those facts currently known or believed to be true
           by Plaintiffs, the waivers and releases of this Agreement will remain effective in all
           respects – despite such different or additional facts and even if Plaintiffs would not
           have agreed to release the claims if Plaintiffs had prior knowledge of such facts.

                 7.   Limitations on Releases. The releases in this Agreement expressly
           exclude claims that cannot be released by law and claims to vested benefits,
           workers’ compensation, or unemployment benefits.

                    8.    No Admission of Liability. Comcast has denied and continues to
           deny, specifically and generally, the claims asserted in the Lawsuit, any and all
           liability or wrongdoing of any kind whatsoever associated with any of the facts or
           claims alleged in the Lawsuit. Comcast maintains that Plaintiffs and all other
           individuals who provided services to Comcast as Line Technicians were properly
           and fully compensated for all of the time they worked for Comcast. Pursuant to
           Federal Rule of Evidence 408, and any other analogous rules of evidence that are
           applicable, neither the settlement memorialized in this Agreement, nor any act
           performed or document executed pursuant to, or in furtherance of, the settlement
           memorialized in this Agreement: (a) is or may be deemed to be or may be used as
           an admission or evidence of, the validity of any claims released in this Agreement,
           or of any wrongdoing or liability of the Released Parties; or (b) is or may be
           deemed to be or may be used as an admission or evidence of, any fault or
           omission of the Released Parties, in any civil, criminal or administrative proceeding
           in any court, administrative agency, or other tribunal.

                 9.    Plaintiffs’ Counsel’s Acknowledgment. Plaintiffs’ Counsel represent that
           other than the Plaintiffs, Plaintiffs’ Counsel does not have any other current clients
           who have wage and hour claims against any of the Released Parties in
           connection with their work for Comcast as Line Technicians. Additionally, Plaintiffs’
           Counsel are not aware of any individuals who work or worked for Comcast
           contemplating wage and hour claims against any of the Released Parties.

                  10.   Confidentiality. Plaintiffs’ Counsel will not directly or indirectly
           reference this Agreement (including its terms, negotiations, and amounts of
           payments) or this litigation on any website, through any form of social media, in
           any press release, or in any media outlet or to any member of the media. If the
           media inquires about this litigation or the settlement, the response will be limited to
           “the matter has been resolved.” Plaintiffs will strictly maintain the confidentiality of
           the fact and terms of the settlement and will not discuss the settlement with the
           press, on any website, social media, or any other media outlet or generally with
           any member of the public. Notwithstanding the foregoing, Plaintiffs and Plaintiffs’
           Counsel may disclose information concerning this Agreement to their respective
           immediate family members, counsel, and tax advisors who have first agreed to
           keep said information confidential and not to disclose it to others. Notwithstanding
           the foregoing, Plaintiffs and Plaintiffs’ Counsel are not prohibited or restricted from

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           disclosures that are required by law or as may be necessary to enforce the
           Agreement. To the extent any such disclosures are required, and to the extent
           permitted by law, Plaintiffs and Plaintiffs’ Counsel shall provide Comcast with as
           much notice as possible of any request to make any above-described disclosure,
           and will use best efforts to ensure any such disclosure will occur in a manner
           designed to maintain confidentiality of this Agreement to the fullest extent
           possible.

                   11.  Consequences for Breach of Confidentiality Obligations. Plaintiffs
           recognize and agree that the representations, promises, and covenants set forth in
           Paragraph 10 relating to their confidentiality obligations constitute a material and
           significant part of the consideration received from the Released Parties in
           exchange for their obligations under this Agreement, and that any violation of
           Paragraph 10 will constitute a material violation of this Agreement. Plaintiffs agree
           that they will each be liable for liquidated damages in the amount of twenty-five
           percent (25%) of their individual Plaintiff Payment if they violate this confidentiality
           obligation.      Further, if Plaintiffs or Plaintiffs’ Counsel violate this confidentiality
           provision prior to the Court’s approval of the settlement, Comcast may rescind the
           settlement, rendering it null and void, and will no longer be bound by any of its
           terms. If settlement is not approved or Comcast withdraws from the settlement
           due to a violation of the confidentiality provisions, this Agreement will become null
           and void except for the terms of Paragraph 10.

                 12.    Choice of Law. The Agreement will be construed and governed by the
           laws of the State of Illinois without reference to conflict of law rules.

                 13.    The Court’s Retention of Jurisdiction. Following its approval of the
           Agreement, the Court will retain jurisdiction to enforce Paragraph 10 and other
           terms of the Parties’ settlement.

                   14.   Modification. This Agreement and its attachments may not be
           changed, altered, or modified, except in a writing signed by Comcast and
           Plaintiffs’ Counsel on behalf of themselves and Plaintiffs.

                  15.    Entire Agreement and Severability. This Agreement constitutes the
           entire agreement between the Parties concerning the subject matter hereof. No
           extrinsic oral or written representations or terms shall modify, vary or contradict the
           terms of this Agreement. In the event of any conflict between this Agreement and
           any other document related to the Parties’ settlement of the Litigation, the Parties
           intend that this Agreement shall be controlling.

                 16.    Defendants’ Authority to Enter Into Agreement. The individual signing this
           Agreement on behalf of Comcast represents and warrants that he/she is duly
           authorized to execute this Agreement on behalf of and to bind each entity.


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                 17.    Signatures. Signatures via facsimile or scanned electronically will be
            treated as originals. Signatures will not require a notary. This agreement may be
            signed in counterparts.



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                                                     ACKNOWLEDGEMENT

                 I HAVE CAREFULLY READ ALL OF THE PROVISIONS OF THIS CONFIDENTIAL
           SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS AND UNDERSTAND THAT IT
           RELATES TO MY LEGAL RIGHTS. I HAVE BEEN GIVEN AN ADEQUATE OPPORTUNITY TO
           CONSULT WITH AN ATTORNEY AND TO REVIEW THE AGREEMENT. I ACKNOWLEDGE
           THAT:

                    a. NEITHER COMCAST NOR ITS REPRESENTATIVES MADE ANY
                       REPRESENTATIONS CONCERNING THE TERMS OR EFFECT OF THIS
                       AGREEMENT OR RELEASE OTHER THAN AS SET FORTH IN THIS
                       DOCUMENT;

                    b. THIS AGREEMENT WAS MUTUALLY NEGOTIATED AND NO PROVISION
                       OF THIS AGREEMENT WILL BE CONSTRUED AGAINST OR INTERPRETED
                       TO THE DISADVANTAGE OF COMCAST BY REASON OF COMCAST
                       HAVING DRAFTED OR STRUCTURED ANY PROVISION;

                    c. I HAVE VOLUNTARILY SIGNED THIS AGREEMENT AS MY OWN FREE
                       ACT WITH FULL KNOWLEDGE OF ITS TERMS AND CONDITIONS, WHICH
                       ARE FINAL AND BINDING UPON ME.

                    d. IN SIGNING THIS AGREEMENT, I HAVE NOT RELIED UPON ANY
                       REPRESENTATION, PROMISE OR STATEMENT, WRITTEN OR ORAL, NOT
                       SET FORTH IN THIS DOCUMENT.


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                                   I HEREBY AGREE TO THE TERMS SET FORTH ABOVE:
           JAMES BRAND

           By:
                                  6/15/2016
           Date:

           BARRY FARMER:

           By:

           Date:

           MARK GRAHAM

           By:

           Date:

           KEVIN JACKSON

           By:

           Date:

           MICHAEL JACKSON

           By:

           Date:

           JOSE VIGIL

           By:



           Date:

           CHRISTOPHER WOODARD

           By:

           Date:

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             Case: 1:12-cv-01122 Document #: 246-1 Filed: 06/21/16 Page 12 of 19 PageID #:8909



                                  I HEREBY AGREE TO THE TERMS SET FORTH ABOVE:
           JAMES BRAND

           By:

           Date:

           BARRY FARMER:

           By:
                                 6/15/2016
           Date:

           MARK GRAHAM

           By:

           Date:

           KEVIN JACKSON

           By:

           Date:

           MICHAEL JACKSON

           By:

           Date:

           JOSE VIGIL

           By:



           Date:

           CHRISTOPHER WOODARD

           By:

           Date:

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             Case: 1:12-cv-01122 Document #: 246-1 Filed: 06/21/16 Page 13 of 19 PageID #:8910



                                   I HEREBY AGREE TO THE TERMS SET FORTH ABOVE:
           JAMES BRAND

           By:

           Date:

           BARRY FARMER:

           By:

           Date:

           MARK GRAHAM

           By:
                                  6/17/2016
           Date:

           KEVIN JACKSON

           By:

           Date:

           MICHAEL JACKSON

           By:

           Date:

           JOSE VIGIL

           By:



           Date:

           CHRISTOPHER WOODARD

           By:

           Date:

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                                  I HEREBY AGREE TO THE TERMS SET FORTH ABOVE:
           JAMES BRAND

           By:

           Date:

           BARRY FARMER:

           By:

           Date:

           MARK GRAHAM

           By:

           Date:

           KEVIN JACKSON

           By:
                                    6/15/2016
           Date:

           MICHAEL JACKSON

           By:

           Date:

           JOSE VIGIL

           By:



           Date:

           CHRISTOPHER WOODARD

           By:

           Date:

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             Case: 1:12-cv-01122 Document #: 246-1 Filed: 06/21/16 Page 15 of 19 PageID #:8912



                                  I HEREBY AGREE TO THE TERMS SET FORTH ABOVE:
           JAMES BRAND

           By:

           Date:

           BARRY FARMER:

           By:

           Date:

           MARK GRAHAM

           By:

           Date:

           KEVIN JACKSON

           By:

           Date:

           MICHAEL JACKSON

           By:
                                     6/15/2016
           Date:

           JOSE VIGIL

           By:



           Date:

           CHRISTOPHER WOODARD

           By:

           Date:

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             Case: 1:12-cv-01122 Document #: 246-1 Filed: 06/21/16 Page 16 of 19 PageID #:8913



                                   I HEREBY AGREE TO THE TERMS SET FORTH ABOVE:
           JAMES BRAND

           By:

           Date:

           BARRY FARMER:

           By:

           Date:

           MARK GRAHAM

           By:

           Date:

           KEVIN JACKSON

           By:

           Date:

           MICHAEL JACKSON

           By:

           Date:

           JOSE VIGIL

           By:



                                 6/15/2016
           Date:

           CHRISTOPHER WOODARD

           By:

           Date:

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              Case: 1:12-cv-01122 Document #: 246-1 Filed: 06/21/16 Page 17 of 19 PageID #:8914



                                   I HEREBY AGREE TO THE TERMS SET FORTH ABOVE:
           JAMES BRAND

           By:

           Date:

           BARRY FARMER:

           By:

           Date:

           MARK GRAHAM

           By:

           Date:

           KEVIN JACKSON

           By:

           Date:

           MICHAEL JACKSON

           By:

           Date:

           JOSE VIGIL

           By:



           Date:

           CHRISTOPHER WOODARD

           By:
                                      6/16/2016
           Date:

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